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                              THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


DERRICK WHEATT, et al.,                       )       CASE NO. 1:17-CV-377
                                              )       consolidated with
               Plaintiffs,                    )       CASE NO. 1:17-CV-611
                                              )
       vs.                                    )       JUDGE JAMES GWIN
                                              )
CITY OF EAST CLEVELAND, et al.                )
                                              )
               Defendants.                    )


       JOINT MOTION OF PLAINTIFFS AND CUYAHOGA COUNTY DEFENDANTS
                 FOR A STATUS CONFERENCE TO EXPLORE ADR



       Plaintiffs Derrick Wheatt, Laurese Glover, and Eugene Johnson, by and through their legal

counsel, and Defendants Carmen Marino, Deborah Naiman, and Cuyahoga County, by and through their

legal counsel, respectfully request that this Court schedule a Status Conference in this case – preferably

by telephone – for the purpose of exploring potential alternatives to resolve this dispute. Plaintiffs’

counsel and the County Defendants’ counsel have engaged in settlement negotiations and seek to explore

possible settlement options that would require the Court’s participation. Time is of the essence in the

holding of such a conference as the window of opportunity to settle this case may be very brief.




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       Legal counsel for Plaintiffs Wheatt, Glover, and Johnson have reviewed this motion and have

expressly given their consent to its filing. Counsel for the East Cleveland Defendants has been advised

of this motion and does not object to it.

                                             Respectfully submitted,

                                             MICHAEL C. O’MALLEY, Prosecuting Attorney of
                                             Cuyahoga County

                                       By:   s/ Charles E. Hannan
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                                             Counsel for Defendants Carmen Marino,
                                             Deborah Naiman, and Cuyahoga County




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                                     CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing Joint Motion for Plaintiffs and Cuyahoga County

Defendants for a Status Conference to Explore ADR was filed electronically on February 9, 2018 and

was served electronically on all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the Court’s system.

                                                     s/ Charles E. Hannan ____ ______
                                                     CHARLES E. HANNAN (0037153)




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